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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
NORTHERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

Case: 1:24-cr-20653

Vv. Judge: Ludington, Thomas L.
MJ: Morris, Patricia 7.
Filed: 10-20-2021

Case 1:21-cr-20653-TLL-PTM ECF No. 1, PagelD.1 Filed 10/20/21 Page 1 of GS)

 

 

NATHAN ZAIN OMAR, INDI USA v. Nathan Omar (tt)
Defendant. I L.
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INDICTMENT us. DISTRIC
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THE GRAND JURY CHARGES:

COUNT ONE
(18 U.S.C. § 922(¢)(1))
(Felon in Possession of a Firearm)
On or about June 2, 2021, in the Eastern District of Michigan, Northern
Division, NATHAN ZAIN OMAR, knowing he had been convicted of an offense

punishable by a term of imprisonment exceeding one year, knowingly possessed, in

 

and affecting commerce, a firearm, that is, one Glock, Model 35, .40 caliber,

semiautomatic pistol, in violation of Title 18, United States Code, Section 922(¢)(1).

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| Case 1:21-cr-20653-TLL-PTM ECF No. 1, PagelD.2 Filed 10/20/21 Page 2 of 3

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FORFEITURE ALLEGATIONS
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c) - Criminal Forfeiture)

The allegations of this Indictment are hereby incorporated by reference for the
purposes of alleging forfeiture pursuant to the provisions of Title 18, United States
Code, Section 924(d) and Title 28, United States Code, Section 246] (c).

Pursuant to Title 18, United States Code, Section 924(d) and Title 28, United
States Code, Section 2461(c), upon conviction of the offenses set forth in Count One
of the Indictment, in violation of Title 18, United States Code, Section 922(g),
defendant NATHAN ZAIN OMAR shall forfeit to the United States one Glock,
Model 35, .40 caliber, semiautomatic pistol, and any associated ammunition

involved in the commission of the offense.

THIS IS A TRUE BILL.
Dated: October 20, 2021
s/Grand Jury Foreperson

 

GRAND JURY FOREPERSON
SAIMA S. MOHSIN
Acting United States Attorney

s/Anca I. Pop
ANTHONY P. VANCE ANCA I. POP (P70032)
Assistant United States Attorney Assistant United State Attorney
Chief, Branch Offices 101 First Street, Ste. 200

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Companion Case information MUST be completed by AUSA and initialed.

 

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan C 4-24 20653
ase: 1:21-cr-

Judge: Ludington, Thomas L.
MJ: Morris, Patricia T.

Filed: 10-20-2021

INDI USA v. Nathan Omar (tt)

 

 

NOTE: It is the responsibility of the Assistant U.S, Attorney signing this form to comy

 

 

 

Companion Case information ee Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)’: Judge Assigned:
[_] Yes No AUSA’s Initials: AP

 

 

Case Title: USAV. Nathan Zain Omar

County where offense occurred : Saginaw

Check One: Felony [_] Misdemeanor _] Petty
X Indictment/ information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: j
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

Superseding Case information

Superseding to Case No: Judge:

 

 

L] Original case was terminated; no additional charges or defendants.
Corrects errors: no additional charges or defendants.
[| Involves, for plea purposes, different charges or adds counts.
[_] Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint {if applicabte)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

October 20, 2021 s/Anca |. Pop

Date Anca |. Pap
Assistant United States Attorney

101 First Street, Suite 200
Bay City, MI 458708
989-895-5712
Anca.Pop@usdoj.gov

P70032

 

' Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.
| 03/11/2013
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